Case 2:03-cv-02155-.]PI\/|-STA Document 113 Filed 07/13/05 Page 1 of 2 Page|D 121

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IN THE UNITED STATES DISTRlCT COURT

 

FOR THE WESTERN DISTRICT OF TENNESSE '
WESTERN DIVISION 155 ""' ' 3 A" m oh
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CLE`B&) .S. USTHCT'CUBT
) 05 TN. MEWHS
RICKY D. ADAMS, )
)
Plaimiff, )
)
v. ) Docket No. 03-2155 Ml/A
)
CITY 0F MEMPHIS, )
)
Defendant. )
)
)

 

CONSENT ORDER STRIKING DEFENDANT’S MO'I`ION FOR ORDER
COMPELLING DISCOVERY RESPONSES FROM PLAINTIFF AND/OR FOR
SANCTIONS FOR VIOLATING ORDER

 

Before the Court is the parties’ Motion for Consent Order Striking Defendant’s Motion for
Order Cornpelling Discovery Responses from Plaintiff and/or for Sanctions for Violating Order.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED, that the parties’ Motion
for Consent Order Striking Defendant’s Motion for Order Cornpelling Discovery Responses from

Plaintiff and/or for Sanctions for Violating Order is granted.

IT IS SO ORDERED this 6 day of §)‘k\§ , 2005

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ON LE JON PH[PPS MCCALLA
UNI D STATES DISTRICT JUDGE

 

Th!s document entered on the docket sheet in compliance
with Ru!e 58 and,’or 79{a) FRCP on “ '05

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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US DISTRICT COURT

